  Case: 1:98-cr-00434 Document #: 338 Filed: 08/01/07 Page 1 of 2 PageID #:201



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
     Plaintiff-Appellee,                   )
                                           )
     v.                                    )     No.   98 CR 434-9
                                           )
MICHAEL BLACK,                             )
                                           )
     Defendant-Appellant.                  )

                             MEMORANDUM ORDER

     Just yesterday, the same day that this Court issued its

memorandum and statement in conjunction with the notice of appeal

filed last week by Michael Black (“Black”), Black filed still

another document--this one captioned “Petitioner’s Motion for

Release or Detention Pending Appeal or District Court Decision”

and unsigned by Black.       That motion is puzzling in more than one

respect.   For example:

           1.   In Black’s Introduction he asserts that he “has

     previously filed two separate pleadings, which are now

     before this Honorable Court, and are to be rule [sic] upon.”

     To this Court’s knowledge it has dealt fully with all of

     Black’s multitudinous filings, and it has no idea what the

     quoted language refers to.

           2.   Later in the Introduction Black asserts that the

     motion’s Ex. A, a photocopy of this Court’s November 12,

     2003 memorandum order that denied for lack of subject matter

     jurisdiction Black’s then-submitted motion for the reduction
  Case: 1:98-cr-00434 Document #: 338 Filed: 08/01/07 Page 2 of 2 PageID #:202



     of the 168 month sentence that had been imposed on him

     June 6, 1999, contained a recommendation that certain

     physical services be provided to Black by the Bureau of

     Prisons.       But an examination of that 2003 memorandum order

     confirms that no such recommendation was made or even hinted

     at.

     Over and above those matters, which are really collateral to

Black’s motion, its most fundamental flaw is that he simply fails

to understand the inapplicability of 18 U.S.C. §3143(b) and Fed.

R. Crim. P. 38(b) to his current situation.            There is no basis

for this Court’s ordering his release from the sentence that he

has been serving for the last eight years, and that still has

several years to go, on the strength of his current effort to

appeal the rejection of a bootless petition for a writ of audita

querela.       Accordingly Black’s current motion is denied.1



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge

Date:       August 1, 2007




        1
        This Court expresses no view as to the treatment that
Black has been receiving from the Bureau of Prisons to deal with
his distressing physical problems.

                                       2
